               Case 4:04-cr-40015-JPG                    Document 415 Filed 10/17/05                       Page 1 of 6        Page ID
                                                                   #756
BAO 2458      (Rev. 12103) Judgment in a Criminal Case
              Sheet 1




                                              SOUTHERN            District of      ILLINOIS
UNITED STATES OF AMERICA                                                  JUDGMENT IN A CRIMINAL CASE
v.
MICHAEL L. REED
                                                                          Case Number:                      4:04CR40015-004-JPG
                                                                          USM Number:                       06286-025

                                                                          Rex G. Burke
                                                                          Defendant's Attomev
THE DEFENDANT:
X pleaded guilty to count(s)
-                                   1 of the Fifth Superseding Indictment.
0 pleaded nolo contendere to count(s)
-
   which was accepted by the court.
0 was found guilty on count(s)
-
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                          Offense Ended                Count
21 U.S.C. 846                    Conspiracy to Manufacture 50 Grams or More of a Mixture                    09/25/2004          lsssss
                                 and Substance Containing Methamphetamine




       The defendant is sentenced as provided in pages 2 through                        of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

-
0 The defendant has been found not guilty on count(s)

0 Count(s)
-                                                 -0 is               are dismissed on the motion of the United States.
         I t is ordered that the defendant must not~fythe IJn~tedStirtcs anomey for thls distrjct withln 30 da,v of any change of name, resden
or mailing address untll,all fines, restltutlon, costs, and spcclal asscsamcnts imposed by this judgment are hr ly pdld. Ifordered to pay restltutlo
the defendant must not~fythc coun and Unltcd States attorney of matenal changes in esonornlc circumstances.




                                                                         J. Phil Gilbert, District Judge


                                                                                                  /3-A24d-
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A 0 245B      (Rev. 12/03) Judgment in Criminal Case
              Sheet 2 -Imprisonment

                                                                                                       Judgment - Page 2
DEFENDANT:                       MICHAEL L. REED
CASE NUMBER:                     4:04CR400 15-004-JPG


                                                                IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
                        96 months on Count 1 of Fifth Superseding Indictment.




    E3 The court makes the following recommendations to the Bureau of Prisons:
    -
           Intensive Drug Treatment Program




    E3 The defendant is remanded to the custody of the United States Marshal
    -
    0 The defendant shall surrender to the United States Marshal for this district:
    -
        -
        0       at                                     -
                                                       0 a.m.          p.m.     on
        0
        -       as notified by the United States Marshal.

    - The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        -
        0       before 2 p.m on
        0
        -       as notified by the United States Marshal.
        0
        -       as notified by the Probation or Pretrial Services Off~ce.


                                                                      RETURN
I have executed this judgment as follows:




        Defendant delivered on                                                               to

a                                                        , with a certified copy of this judgment.


                                                                                                     UNITED STATES MARSHAL


                                                                              BY
                                                                                     DEPUTY UNITED STATES MARSHAL
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A 0 245B      (Rev. 12103) Judgment in a Criminal Case
              Sheet 3 S u p e r v i s e d Release
                                                                                                           Judgment-Page   3
 DEFENDANT:                    MICHAEL L. REED
 CASE NUMBER:                  4:04CR40015-004-JPG
                                                         SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of:            5 years on Count lsssss.




      The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from th
 custody of the Bureau of Pnsons.
 The defendant shall not commit another federal, state or local crime.
 Thc defendant shall not unlawfully possess a controlled substance. The defendant shall refram from any unlawful use of a controlled
 substance. The defendant shall subm~tto one drug- test withm I5 Jays of relcase from imprisonnlent and at least two per~od~cdrug tests
 thereafter, as determined by the court.
 -
        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
 -      The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)

 -      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

 -      The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
        student, as directed by the probation officer. (Check, if applicable.)
 -      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this 'udgment imposes a f ~ ore restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule ofl~aynentssheet of this judgment.
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional condition
 on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
   1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days
           each month,
   3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)      the defendant shall support his or her dependents and meet other family responsibilities;
   5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or 0th
           acceptable reasons;
   6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)      the defendant shall not associate with any ersons en aged in criminal activity and shall not associate with any person convicted of
           felony, unless granted pemsslon to do sogy the protation officer;
  10)      the defendant shall permit a,probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of an
           contraband observed m plam vlew of the probation officee
  11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement office
  12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without th
           permission of the court; and
  13) as directed by the robation officer, the defendant shall notify third patties of risks that may be occasioned by the defendant's crirmn
           record or persona? history or characteristics and shall permit the probation onicer to make such notifications and to confirm th
           defendant s compliance with such notification requirement.
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A 0 2458   (Rev. 12/03) Judgment in a Criminal Case
           Sheet 3C - Supervised Release
                                                                                           Jud-t-Page    4
DEFENDANT:                MICHAEL L. REED
CASE NUMBER:              4:04CR40015-004-JPG

                                         SPECIAL CONDITIONS OF SUPERVISION
          The defendant shall pay any financial penalty that is imposed by this 'udgment and that remains unpaid at the
commencement of the term of supervised release. The defendant shall pay the h e I installments of $20.00 or ten percent of
his net monthly income, whichever is greater.
  The defendant shall provide the probation ofecer and the Financial Litigation Unit of the United States Attorney's Office
with access to any reyested financialinfo~atlon.The defendant is advised that the probation office may share financial
information with the lnanclal Lltlgahon Unit.
  The defendant shall appl all monies received from income tax refunds, lottery winnings,,judgments, and/or any other
anticipated or unexpected L n c i a l      pin,
                                          to the outstanding co@-ordered financial obligatlon. The defendant shall
immediately notify the probation of lcer of the receipt of any indicated monles.
  The defendant shall articipate as directed and approved by the probation officer in treatment for narcotic addiction, drug
                         P
dependence, or alcoho dependence, which includes urinalysis or other drug detection measures and which may requlre
residence and/or partici ation in a residential treatment facility. Any partic~pationwill require complete abstinence from all
                         TR
alcoholic beverages. e defendant shall pay for the costs associated with substance abuse counselmg and/or testing based
on a co-pay sliding fee scale approved by the United States Probation Office. Co-pay shall never exceed the total costs of
counselmg.
  The defendant shall partici ate in a program of mental health treatment, as directed by the probation officer, until such tim
                                 K
as the defendant is released om the program by the probation officer.
                Case 4:04-cr-40015-JPG                      Document 415 Filed 10/17/05                  Page 5 of 6     Page ID
                                                                      #760
A 0 2458   (Rev. 12/03) Judgment in a Criminal Case
           Sheet 5 -C"minal Monetary Penalties
                                                                                                     J u d g m c n t Page 5
 DEFENDANT:                        MICHAEL L. REED
 CASE NUMBER:                      4:04CR400 15-004-JPG
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                       Assessment                                        -
                                                                         Fine                             Restitution
 TOTALS            $ 100.00                                          $ 400.00                            $ 0



 0 The determination of restitution is deferred until -
 -                                                     . An Amended Judgment in a Criminal Case(A0 245C) will he enter
     after such determination.

 - The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If tl~cdefendant makes a partial paymcnt, each pa ee 5hall recei\,c an approx~matcly ro ortloned ayment, unless specified otherwise
      the pr~ontyorder or perc,cntage payment column &I&. hwe\.er, pursuant to 18 J)s.?. 3664{), all nonfederal victims must be p
      before the Un~tedS t a h 1s pald.

 Name of Payee                               Total Loss*                        Restitution Ordered               Prioritv or Percentage




 TOTALS                              $                                      $


 -
 0     Restitution amount ordered pursuant to plea agreement $

 -    The defendant must pay interest on restitution and a fme of more than $2,500, unless the restitution or fine is paid in 111before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 9 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and defaulf pursuant to 18 U.S.C. 9 3612(g).

 -    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      El the interest requirement is waived for the
      -                                                           fine       restitution.

      - the interest requirement for the              -   fine   0 restitution is modified as follows:
                                                                 -
 * Findings for the total amount of losses are required under Chapters 109A, 110,11OA, and 113A of Title 18 for offenses committedon or aft
 September 13, 1994, hut before April 23, 1996.
               Case 4:04-cr-40015-JPG                      Document 415 Filed 10/17/05                  Page 6 of 6          Page ID
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A 0 2458   (Rev. 12103) Judgment in a Criminal Case
           Sheet 6 - Schedule of Payments
                                                                                                         Judgment - Page 6
 DEFENDANT:                 MICHAEL L. REED
 CASE NUMBER:               4:04CR40015-004-JPG

                                                          SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

 A    ILump sum payment of $                                    due immediately, balance due

           0
           -     not later than                                     2   or
           0
           -     in accordance           g C,         g    D,   g       E, or   g F below; or
 B    g Payment to begin immediately (may be combined with                      C,     - D, or   g F below); or
 C    g    Payment inequal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                       (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

 D    g Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment  to a
           term of supervision; or

 E    g    Payments are due immediately, through the Clerk of the Court, hut may be paid from prison earnings in compliance with the
           Inmate Financial Responsibility Program. Any Financial penalties that remain unpaid at the commencement of the term of
           supervised release shall he paid at the rate of $             per month,       % of defendants monthly gross earnings,
           whichever is greater.

 F         Special instructions regarding the payment of criminal monetary penalties:

               While on supervised release, the defendant shall make monthly payments in the amount of $20.00 or ten percent of his net
           monthly income, whichever is greater.




 Unless the court has express1 ordered otherwise, if this judgment imposes imprisonment, a
                               ?'
 imprisonment. All crlmina monet                                                                 rt
                                                                                               riminal monetary penalties is due duin
                                                                                           Oft Bureau of Pnsons' Inmate Fmanci
                                         penalties, except those payments made througl e Federal
 Responsibility Program are made to%e clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



 -
 0    Joint and Several
      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 -
 0    The defendant shall pay the cost of prosecution.
 0
 -    The defendant shall pay the following court cost(s):
-
0     The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in the following order: (1 assessment, (2) restitution principal, (3) restitution interest, (4) tine principal,
 (5) fme interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
